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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


 CENTRAL SOURCE LLC
 P.O. Box 105283
 Atlanta, Georgia 30348,

          Plaintiff,
                                                                       1:18cv453 (AJT/MSN)
 v.                                                 Civil Action No. _________________

 annualcreditreportmonitoring.com,
 afreeannualcreditreport.com,
 thefreeannualcreditreport.com,
 annalcreditreports.com,
 annualcrediitreport.com,
 gfreeannualcreditreport.com,
 frreannualcreditreport.com,
 annualcreditreportc.com,
 annualannualcreditreport.com,
 annualcreditreporth.com,
 httpannualcreditreport.com,
 mannualcreditreport.com,
 annualbusinesscreditreport.com,
 feeannualcreditreport.com, and
 wwwannualcreditreports.com

          Defendants.


                                         COMPLAINT

          Plaintiff Central Source LLC, by counsel, alleges as follows for its in rem Complaint

against        Defendants    annualcreditreportmonitoring.com,        afreeannualcreditreport.com,

thefreeannualcreditreport.com,          annalcreditreports.com,           annualcrediitreport.com,

gfreeannualcreditreport.com,         frreannualcreditreport.com,          annualcreditreportc.com,

annualannualcreditreport.com,         annualcreditreporth.com,         httpannualcreditreport.com,

mannualcreditreport.com,      annualbusinesscreditreport.com,     feeannualcreditreport.com,   and

wwwannualcreditreports.com (the “Domain Names”).
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                                     NATURE OF THE SUIT

       1.      This is an in rem action for cybersquatting under the Federal Anti-Cybersquatting

Consumer Protection Act, 15 U.S.C. § 1125(d), and trademark infringement under the Lanham

Act, 15 U.S.C. § 1114(1)(a).

       2.      Recent studies have shown that over 95% of the 500 most popular sites on the

Internet are the subject of “typosquatting”—registration or use of a domain name that represents

a typographical error of the legitimate site—and which is typically used to display

advertisements related to the legitimate site, to distribute computer viruses or “malware,” or to

collect visitors’ personal information for inappropriate or illegal uses.

       3.      Typosquatting harms consumers by causing confusion with the legitimate sites

being sought by the consumers and very often results in consumers’ computers being infected

with computer viruses, “bloatware” or other unwanted software, consumer’s personal

information being collected and misused, and/or consumers being presented with an endless

stream of unwanted advertisements.

       4.      In   the   present   case,   Plaintiff’s   invaluable   rights   in   the   distinctive

AnnualCreditReport mark have been deliberately infringed through the bad faith registration and

use of the Defendant Domain Names, which domain names are confusingly similar to the

AnnualCreditReport mark. Plaintiff previously has pursued a number of actions in this Court to

obtain the transfer of similar domain names that infringe upon the AnnualCreditReport mark and

were registered in bad faith. See Central Source LLC v. afreeannualcreditreport.com, 17-cv-581

(filed May 22, 2017); Central Source LLC v. freeannualcfreditreport.com, 17-CV-63 (filed Jan.

13, 2017); Central Source LLC v. freeannualcreditreport2014.com, 16-CV-465 (filed Aug. 26,

2016); Central Source LLC v. anmnualcreditreport.com, 14-CV-1754 (E.D. Va. Aug. 19, 2015);




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Central Source LLC v. annualcrsditreport.com, 14-CV-1755, 2015 WL 1880187 (E.D. Va. Apr.

23, 2015); Central Source LLC v. aniualcreditreport.com, 14-CV-1345 (E.D. Va. Mar. 2, 2015);

Central Source LLC v. aabbualcreditreport.com, 14-CV-918 (E.D. Va. Nov. 12, 2014, amended

Nov. 18, 2014); Central Source LLC v. annualcreditredport.com, 14-CV-302, 2014 WL

3891667 (E.D. Va. Aug. 7, 2014); Central Source LLC v. annualdcreditreport.com, No. 14-CV-

304, 2014 WL 371162 (E.D. Va. Aug. 1, 2014); Central Source LLC v. annualcreditreport-

com.us, 14-CV-305, 2014 WL 3767071 (E.D. Va. July 30, 2014).

                                             PARTIES

       5.      Central Source LLC (“Central Source”) is a corporation organized and existing

under the laws of Delaware with a principal business address of P.O. Box 105283, Atlanta,

Georgia, 30348.

       6.      annualcreditreportmonitoring.com is an Internet domain name which, according

to records in the WHOIS database of domain name registrations, is registered by “Cimpress

Schweiz     GmbH”.        A     copy    of    the       domain   name   registration   record   for

annualcreditreportmonitoring.com is attached as Exhibit 1.

       7.         afreeannualcreditreport.com is an Internet domain name which, according to

records in the WHOIS database of domain name registrations, is registered by “DOMAIN MAY

BE FOR SALE, CHECK AFTERNIC.COM D”. A copy of the domain name registration record

for afreeannualcreditreport.com is attached as Exhibit 2.

       8.      thefreeannualcreditreport.com is an Internet domain name which, according to

records in the WHOIS database of domain name registrations, is registered by “DOMAIN MAY

BE FOR SALE, CHECK AFTERNIC.COM D”. A copy of the domain name registration record

for thefreeannualcreditreport.com is attached as Exhibit 3.




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       9.      annalcreditreports.com is an Internet domain name which, according to records in

the WHOIS database of domain name registrations, is registered by “Domain Registries

Foundation”. A copy of the domain name registration record for annalcreditreports.com is

attached as Exhibit 4.

       10.     annualcrediitreport.com is an Internet domain name which, according to records

in the WHOIS database of domain name registrations, is registered by “Kevin Mao”. A copy of

the domain name registration record for annualcrediitreport.com is attached as Exhibit 5.

       11.     gfreeannualcreditreport.com is an Internet domain name which, according to

records in the WHOIS database of domain name registrations, is registered by “Private

Registrant”. A copy of the domain name registration record for gfreeannualcreditreport.com is

attached as Exhibit 6.

       12.     frreannualcreditreport.com is an Internet domain name which, according to

records in the WHOIS database of domain name registrations, is registered by “Xing Zhou”. A

copy of the domain name registration record for frreannualcreditreport.com is attached as Exhibit

7.

       13.     annualcreditreportc.com is an Internet domain name which, according to records

in the WHOIS database of domain name registrations, is registered by “zhu yanpeng”. A copy of

the domain name registration record for annualcreditreportc.com is attached as Exhibit 8.

       14.     annualannualcreditreport.com is an Internet domain name which, according to

records in the WHOIS database of domain name registrations, is registered by “Domain

Administrator”.          A   copy   of    the    domain     name     registration   record   for

annualannualcreditreport.com is attached as Exhibit 9.




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       15.     annualcreditreporth.com is an Internet domain name which, according to records

in the WHOIS database of domain name registrations, is registered by “Domain Administrator”.

A copy of the domain name registration record for annualcreditreporth.com is attached as Exhibit

10.

       16.     httpannualcreditreport.com is an Internet domain name which, according to

records in the WHOIS database of domain name registrations, is registered by “Domain

Administrator”. A copy of the domain name registration record for httpannualcreditreport.com is

attached as Exhibit 11.

       17.     mannualcreditreport.com is an Internet domain name which, according to records

in the WHOIS database of domain name registrations, is registered by “Domain Administrator”.

A copy of the domain name registration record for mannualcreditreport.com is attached as

Exhibit 12.

       18.     annualbusinesscreditreport.com is an Internet domain name which, according to

records in the WHOIS database of domain name registrations, is registered by “Privacy.co.com”.

A copy of the domain name registration record for annualbusinesscreditreport.com is attached as

Exhibit 13.

       19.     feeannualcreditreport.com is an Internet domain name which, according to

records in the WHOIS database of domain name registrations, is registered by “Private

Registrant”. A copy of the domain name registration record for feeannualcreditreport.com is

attached as Exhibit 14.

       20.     wwwannualcreditreports.com is an Internet domain name which, according to

records in the WHOIS database of domain name registrations, is registered by “Private




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Registrant”. A copy of the domain name registration record for wwwannualcreditreports.com is

attached as Exhibit 15.

                          JURISDICTION, VENUE AND JOINDER

       21.     This is a civil action for federal cybersquatting in violation of the Anti-

Cybersquatting Consumer Protection Act, 15 U.S.C. § 1125(d) and for trademark infringement

under the Lanham Act, 15 U.S.C. § 1114(1)(a).

       22.     This Court has original jurisdiction under 15 U.S.C. § 1121(a) and 28 U.S.C. §§

1331 and 1338(a).

       23.     This Court has in rem jurisdiction over the Defendant Domain Names pursuant to

15 U.S.C. § 1125(d)(2)(A). In rem jurisdiction is appropriate under 15 U.S.C. §

1125(d)(2)(A)(ii) because the listed registrant of the Defendant Domain Names is, on

information and belief, either a privacy service or a fictitious person/entity, and therefore

Plaintiff cannot obtain in personam jurisdiction over a person who would have been a defendant

in a civil action under 15 U.S.C. § 1125(d)(1)(A) and/or Central Source, despite its due

diligence, has been unable to find a person who would have been a defendant in a civil action

under 15 U.S.C. § 1125(d)(1)(A).

       24.     Pursuant to 15 U.S.C. § 1125(d)(2)(A)(ii)(II)(aa), Central Source will give notice

of the violations of Central Source’s rights, and Central Source’s intent to proceed in rem, to the

postal and e-mail addresses set forth in the registration records for each of the Defendant Domain

Names.

       25.     Venue is proper in this District pursuant to 15 U.S.C. § 1125(d)(2)(C) in that the

.COM domain name registry operator, VeriSign, Inc., is situated in this judicial district, and the

Defendant Domain Names are all .COM domain names.




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        26.    Joinder of the Defendant Domain Names is proper under Fed. R. Civ. P. 20(a)(2)

in that the in rem cybersquatting and trademark infringement claims set forth herein arise out of

the same series of transactions and the same questions of law are common to all of the Defendant

Domain Names.

                                  CENTRAL SOURCE’S RIGHTS

        27.    Central Source was created in 2004 to provide consumers with a secure means to

request and obtain a free credit report once every 12 months in accordance with the Fair and

Accurate Credit Transactions Act. 15 U.S.C. § 1681j.

        28.    Central Source provides this service to consumers through a website and service

available at www.AnnualCreditReport.com, and AnnualCreditReport is the only service/site

authorized by the U.S. Federal Trade Commission and the Consumer Financial Protection

Bureau to provide this service.

        29.    Central Source registered the AnnualCreditReport.com domain name on June 25,

2004.

        30.    Over the course of June and July of 2004, Central Source registered a large

number of additional related domain names and now owns more than 600 domain names

representing typographical errors of AnnualCreditReport as a defensive measure intended to

protect consumers by limiting cybersquatting of domain name registrations related to

AnnualCreditReport.

        31.    Central Source began promoting the AnnualCreditReport mark and website in a

press release issued on November 23, 2004. This promotion resulted in several major media

organizations nationwide publishing stories that referenced the AnnualCreditReport mark and the

AnnualCreditReport.com website address. These organizations included The Chicago Tribune,




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The Kansas City Star, The New York Times, The Sacramento Bee, The San Francisco Chronicle,

The Star-Ledger, USA TODAY, and The Washington Post.

        32.    As a result of Central Source’s promotion of the AnnualCreditReport mark and

AnnualCreditReport.com domain name and the corresponding media coverage, consumers

immediately associated the AnnualCreditReport mark and the AnnualCreditReport.com domain

name with Central Source.

        33.    The AnnualCreditReport service was launched for public use on November 30,

2004.

        34.    Since opening for public use, AnnualCreditReport has received more than

675,000,000 visits to AnnualCreditReport.com through July 2017.

        35.    The U.S. Federal Trade Commission has engaged in a wide ranging public service

campaign promoting AnnualCreditReport through informational websites, television and Internet

commercials, and audio public service announcements.

        36.    The Federal Trade Commission has also previously pursued unauthorized Internet

uses of AnnualCreditReport and typographical variations of AnnualCreditReport.

        37.    The Credit Card Accountability Responsibility and Disclosure Act (the “CARD

Act”) requires certain mandatory references to AnnualCreditReport.com whenever an

advertisement or website offers a free credit report.

        38.    Pursuant to 15 U.S.C. § 1681j(g):

        [A]ny advertisement for a free credit report in any medium shall prominently
        disclose in such advertisement that free credit reports are available under Federal
        law at: “AnnualCreditReport.com” (or such other source as may be authorized
        under Federal law).

        39.    Pursuant to 12 C.F.R. § 1022.138(b):




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       (3)    All advertisements for free credit reports in print shall include the
       following disclosure in the form specified below and in close proximity to the
       first mention of a free credit report. The first line of the disclosure shall be
       centered and contain only the following language: “THIS NOTICE IS
       REQUIRED BY LAW.” Immediately below the first line of the disclosure the
       following language shall appear: “You have the right to a free credit report from
       AnnualCreditReport.com or (877) 322-8228, the ONLY authorized source under
       Federal law.” …

       (4)     Web sites. Any Web site offering free credit reports must display the
       disclosure set forth in paragraphs (b)(4)(i), (ii), and (v) of this section on each
       page that mentions a free credit report and on each page of the ordering process.
       (i) The first element of the disclosure shall be a header that is centered and shall
       consist of the following text: “THIS NOTICE IS REQUIRED BY LAW. … ; (ii)
       The second element of the disclosure shall appear below the header required by
       paragraph (b)(4)(i) and shall consist of the following text: “You have the right to a
       free credit report from AnnualCreditReport.com or (877) 322-8228, the ONLY
       authorized source under Federal law.” The reference to AnnualCreditReport.com
       shall be an operational hyperlink to the centralized source, underlined, and in the
       same color as the hyperlink to consumerfinance.gov/learnmore required in §
       1022.138(b)(4)(i); (v) The third element of the disclosure shall appear below the
       text required by paragraph (b)(4)(ii) and shall be an operational hyperlink to
       AnnualCreditReport.com that appears as a centered button containing the
       following language: “Take me to the authorized source.”

       40.     The mandatory disclosures required by federal law under 15 U.S.C. § 1681j(g)

and 12 C.F.R. § 1022.138 have resulted in millions of references to AnnualCreditReport being

presented to consumers.

       41.     Through promotion of AnnualCreditReport by Central Source, the Federal Trade

Commission, and third parties that are statutorily required identify AnnualCreditReport, the

AnnualCreditReport mark has become famous and/or distinctive throughout the United States in

connection with Central Source’s services.

       42.     The Defendant Domain Names represent unauthorized colorable imitations of the

AnnualCreditReport mark, which further demonstrates that the AnnualCreditReport mark has

acquired distinctiveness and was famous and/or distinctive prior to the time of registration of the

Defendant Domain Names.



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       43.    Consumers have come to distinguish and recognize the legitimacy of Central

Source’s services as a result of the use and widespread promotion of the AnnualCreditReport

mark. The AnnualCreditReport mark is entitled to common law trademark rights.

       44.    The AnnualCreditReport mark is also registered on the Principal Trademark

Register of the U.S. Patent and Trademark Office under incontestable registration number

4152650. See Exhibit 16.

       45.    Central Source’s federal registration for the AnnualCreditReport mark is

conclusive evidence of the validity of the mark, of Central Source’s ownership of the mark, and

of Central Source’s exclusive right to use the mark in U.S. commerce.

       UNLAWFUL REGISTRATION AND/OR USE OF THE DOMAIN NAMES

       46.    Central Source has engaged in significant efforts to protect consumers by inter

alia defensively registering domain names that represent typographical variations of

AnnualCreditReport and by pursuing the disabling of websites and the transfer of domain names

that are being used to confuse and mislead consumers.

       47.    Where necessary, Central Source also has successfully pursued legal action to

obtain the transfer of domain names that infringe upon the AnnualCreditReport mark and were

registered in bad faith. See Central Source LLC v. afreeannualcreditreport.com, 17-cv-581

(filed May 22, 2017); Central Source LLC v. freeannualcfreditreport.com, 17-CV-63 (filed Jan.

13, 2017); Central Source LLC v. freeannualcreditreport2014.com, 16-CV-465 (filed Aug. 26,

2016); Central Source LLC v. anmnualcreditreport.com, 14-CV-1754 (E.D. Va. Aug. 19, 2015);

Central Source LLC v. annualcrsditreport.com, 14-CV-1755, 2015 WL 1880187 (E.D. Va. Apr.

23, 2015); Central Source LLC v. aniualcreditreport.com, 14-CV-1345 (E.D. Va. Mar. 2, 2015);

Central Source LLC v. aabbualcreditreport.com, 14-CV-918 (E.D. Va. Nov. 12, 2014, amended




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Nov. 18, 2014); Central Source LLC v. annualcreditredport.com, 14-CV-302, 2014 WL

3891667 (E.D. Va. Aug. 7, 2014); Central Source LLC v. annualdcreditreport.com, No. 14-CV-

304, 2014 WL 371162 (E.D. Va. Aug. 1, 2014); Central Source LLC v. annualcreditreport-

com.us, 14-CV-305, 2014 WL 3767071 (E.D. Va. July 30, 2014).

          48.   The   Defendant      Domain     Names       represent   typographical   errors   of

AnnualCreditReport. The registration and use of the Defendant Domain Names reflects a type of

cybersquatting known as “typosquatting.”

          49.   Upon information and belief, the Defendant Domain Names were registered for

the purpose of obtaining Internet visitors when such visitors make a typographical error on their

keyboard when attempting to reach AnnualCreditReport.com by typing “AnnualCreditReport.”

          50.   The Defendant Domain Names are configured to display pay-per-click

advertisements or to redirect visitors to third-party websites for sales solicitations—when the

visitors were actually seeking the AnnualCreditReport service provided by Central Source

through AnnualCreditReport.com.

          51.   Upon information and belief, the registrant(s) of the Defendant Domain Names

receive     compensation    when     Internet   visitors,   who     were   attempting   to   reach

AnnualCreditReport.com, click on a link provided by a Defendant Domain Name to a third-party

website and/or when the Internet visitors are automatically redirected by a Defendant Domain

Name to a third-party website for a sales solicitation.

          52.   The use of the AnnualCreditReport mark within the Defendant Domain Names

and/or associated websites is without authorization from Central Source.

          53.   Upon information and belief, the Defendant Domain Names do not and cannot

reflect the legal name of the registrant(s) of the Domain Names.




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         54.   Upon information and belief, the registrant(s) of the Defendant Domain Names

has not engaged in bona fide noncommercial or fair use of the AnnualCreditReport mark in a

website accessible under the Domain Names.

         55.   The websites displayed by the registrant(s) of the Defendant Domain Names are

likely    to   be   confused   with   Central    Source’s    legitimate   online   location   at

AnnualCreditReport.com and actual consumer confusion is occurring in the marketplace.

         56.   Upon information and belief, the registrant(s) of the Defendant Domain Names

registered the Domain Names with intent to divert consumers away from Central Source’s online

location at AnnualCreditReport.com, for commercial gain, by creating a likelihood of confusion

as to the source, sponsorship, affiliation or endorsement of the Defendant Domain Names and the

sites displayed through use of the Defendant Domain Names.

         57.   Upon information and belief, the Defendant Domain Names are being used to

display websites that do not comply with the mandatory disclosure provisions of 15 U.S.C. §

1681j(g) and 12 C.F.R. § 1022.138.

         58.   Upon information and belief, the registrant(s) of the Defendant Domain Names

provided material and misleading false contact information when applying for and maintaining

the registration of the Defendant Domain Names in that the person or entity identified as the

registrant of the Defendant Domain Names is not the true owner of the Domain Names.

         59.   Upon information and belief, the registrant(s) of certain of the Defendant Domain

Name use services that replace a domain name owner’s contact information with names such as

“Private Registrant” and “Domain Administrator” and thereby conceal the identity of the true

owner(s) of the domain name.




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       60.     Upon information and belief, certain of the Defendant Domain Names were

registered by the same person or entity and/or are under the control of the same person or entity.

                                       COUNT ONE:
          (Violation of the Federal Anti-Cybersquatting Consumer Protection Act)

       61.     Central Source repeats and realleges each and every allegation set forth in the

foregoing paragraphs, as though fully set forth herein.

       62.     Central Source’s federally registered AnnualCreditReport mark is famous and/or

distinctive and was famous and/or distinctive prior to the time of registration of the Defendant

Domain Names.

       63.     The aforesaid acts by the registrant(s) of the Defendant Domain Names constitute

registration, maintenance, trafficking in, or use of domain names that are confusingly similar to

Central Source’s AnnualCreditReport mark, with bad faith intent to profit therefrom.

       64.     In light of the registrant’s concealment of the identities of the true owners(s) of

the Defendant Domain Names, Central Source is not able to obtain in personam jurisdiction over

the registrant(s) of the Defendant Domain Names or any other person who would have been a

defendant in a civil action under 15 U.S.C. § 1125(d)(1)(A).

       65.     Central Source, despite its due diligence, has been unable to find a person who

would have been a defendant in a civil action under 15 U.S.C. § 1125(d)(1)(A).

       66.     The aforesaid acts by the registrant(s) of the Domain Names constitute unlawful

cyberpiracy in violation of the Anti-Cybersquatting Consumer Protection Act, 15 U.S.C. §

1125(d)(1).

       67.     The aforesaid acts have caused, and are causing, great and irreparable harm to

Central Source and the public. The harm to Central Source includes harm to the value and

goodwill associated with the AnnualCreditReport mark that money cannot compensate. Unless



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permanently restrained and enjoined by this Court, said irreparable harm will continue. Thus,

pursuant to 15 U.S.C. § 1125(d)(2)(D)(i), Central Source is entitled to an order transferring the

Defendant domain name registrations to Central Source.

                                       COUNT TWO:
                              (In-Rem Trademark Infringement)

       68.     Central Source repeats and realleges each and every allegation set forth in the

foregoing paragraphs, as though fully set forth herein.

       69.     At the time the Defendant Domain Names were registered and/or used, Central

Source possessed valid federal trademark rights in the AnnualCreditReport mark.

       70.     In light of the registrant’s concealment of the identities of the true owners(s) of

the Defendant Domain Names, Central Source is not able to obtain in personam jurisdiction over

the registrant(s) of the Defendant Domain Names or any other person who would have been a

defendant in a civil action under 15 U.S.C. § 1125(d)(1)(A).

       71.     Central Source, despite its due diligence, has been unable to find a person who

would have been a defendant in a civil action under 15 U.S.C. § 1125(d)(1)(A).

       72.     The registration and use of the Defendant Domain Names are a use in commerce.

       73.     The registration and use of the Defendant Domain Names affect Central Source’s

ability to use its AnnualCreditReport mark in commerce.

       74.     The Defendant Domain Names and their respective registrant(s) have no valid

rights in the AnnualCreditReport mark.

       75.     At the time the Defendant Domain Names were registered and/or used, the

Defendant Domain Names and their respective registrant(s) were on actual and/or constructive

notice, pursuant to Section 22 of the Lanham Act, 15 U.S.C. § 1072, of the existence of Central




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Source’s superior rights in its AnnualCreditReport mark by reason of the existence, at that time,

of Central Source’s aforestated federal trademark rights.

       76.     Use by the Defendant Domain Names and their respective registrant(s) of the

AnnualCreditReport mark is without the permission or authorization of Central Source.

       77.     The aforesaid registration and/or use of the Defendant Domain Names has caused

and is likely to continue to cause confusion, mistake and/or deception among consumers and the

public, leading the public falsely to believe that the Defendant Domain Names and/or websites

provided thereunder are those of, are sponsored or approved by, or are in some way connected

with Central Source.

       78.     The aforesaid registration and use of the Defendant Domain Names constitutes

direct infringement of Central Source’s trademark rights in violation of Section 32(1) of the

Lanham Act, 15 U.S.C. § 1114(1).

       79.     The aforesaid acts have caused, and are causing, great and irreparable harm to

Central Source and the public. The harm to Central Source includes harm to the value and

goodwill associated with the AnnualCreditReport mark that money cannot compensate. Unless

permanently restrained and enjoined by this Court, said irreparable harm will continue.

                                    PRAYER FOR RELIEF

       WHEREFORE, Central Source respectfully requests of this Court:

       1.      That judgment be entered in favor of Central Source on its claims of

cybersquatting and trademark infringement.

       2.      That the Court order the Defendant Domain Names be transferred to Central

Source through transfer by VeriSign, Inc. of the Defendant Domain Names from the current




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domain name registrars to Central Source’s domain name registrar of choice and by such

registrar’s change of the registrant to Central Source.

       3.      That any other domain names registered by the registrant(s) of the Defendant

Domain Names that resemble or include the AnnualCreditReport mark be transferred to Central

Source.

       4.      That the Court order an award of costs and reasonable attorney’s fees incurred by

Central Source in connection with this action pursuant to 15 U.S.C. § 1117(a); and

       5.      That the Court order an award to Central Source of such other and further relief as

the Court may deem just and proper.



       Dated: April 19, 2018          By:       /s/ Attison L. Barnes, III
                                              Attison L. Barnes, III (VA Bar No. 30458)
                                              David E. Weslow (for pro hac admission)
                                              WILEY REIN LLP
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                                              Counsel for Plaintiff
                                              Central Source LLC




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